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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


                                                            CIVIL ACTION NO. 1:23-CV-12934



 BRIAN BERGERON, et al.
      Plaintiffs,
                                                                  ANSWER
                                                                ON BEHALF OF
        v.
                                                             ALL DEFENDANTS’ TO
                                                              PLAINTIFFS’ THIRD
 TOWN OF BROOKLINE, et al.
                                                             AMENDED COMPLAINT
     Defendants.




   1. The allegations of paragraph one, can be neither admitted nor denied as they state

conclusions of law rather than factual assertions.

                                 JURISDICTION AND VENUE

   2. The Town admits the allegations set forth in paragraph two.

   3. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph three and calls upon plaintiff to prove the same.

   4. The Town admits the allegations set forth in paragraph four.

   5. The Town denies the allegations set forth in paragraph five.

                                             PARTIES

   6. The Town admits that Brian Bergeron is a fire lieutenant employed by the Brookline Fire

Department, and is without knowledge or information sufficient to form a belief as to the truth of

the remaining allegations set forth in paragraph six.
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   7. The Town admits that Paul Trahon is a fire lieutenant employed by the Brookline Fire

Department, and is without knowledge or information sufficient to form a belief as to the truth of

the remaining allegations set forth in paragraph seven.

   8. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph eight and calls upon plaintiff to prove the same.

   9. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph nine and calls upon plaintiff to prove the same.

   10. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph ten and calls upon plaintiff to prove the same.

   11. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph eleven and calls upon plaintiff to prove the same.

   12. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph twelve and calls upon plaintiff to prove the same.

   13. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph thirteen and calls upon plaintiff to prove the same.

   14. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph fourteen and calls upon plaintiff to prove the same.

   15. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph fifteen and calls upon plaintiff to prove the same.

   16. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph sixteen and calls upon plaintiff to prove the same.

   17. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph seventeen and calls upon plaintiff to prove the same.




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   18. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph eighteen and calls upon plaintiff to prove the same.

   19. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph nineteen and calls upon plaintiff to prove the same.

   20. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph twenty and calls upon plaintiff to prove the same.

   21. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph twenty-one and calls upon plaintiff to prove the same.

   22. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph twenty-two and calls upon plaintiff to prove the same.

   23. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph twenty-three and calls upon plaintiff to prove the same.

   24. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph twenty-four and calls upon plaintiff to prove the same.

   25. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph twenty-five and calls upon plaintiff to prove the same.

   26. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph twenty-six and calls upon plaintiff to prove the same.

   27. The Town admits that Patty Cripe is a firefighter employed by the Brookline Fire

Department, and is without knowledge or information sufficient to form a belief as to the truth of

the remaining allegations set forth in paragraph twenty-seven.

   28. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph twenty-eight and calls upon plaintiff to prove the same.




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   29. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph twenty-nine and calls upon plaintiff to prove the same.

   30. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph thirty and calls upon plaintiff to prove the same.

   31. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph thirty-one and calls upon plaintiff to prove the same.

   32. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph thirty-two and calls upon plaintiff to prove the same.

   33. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph thirty-three and calls upon plaintiff to prove the same.

   34. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph thirty-four and calls upon plaintiff to prove the same.

   35. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph thirty-five and calls upon plaintiff to prove the same.

   36. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph thirty-six and calls upon plaintiff to prove the same.

   37. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph thirty-seven and calls upon plaintiff to prove the same.

   38. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph thirty-eight and calls upon plaintiff to prove the same.

   39. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph thirty-nine and calls upon plaintiff to prove the same.




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   40. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph forty and calls upon plaintiff to prove the same.

   41. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph forty-one and calls upon plaintiff to prove the same.

   42. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph forty-two and calls upon plaintiff to prove the same.

   43. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph forty-three and calls upon plaintiff to prove the same.

   44. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph forty-four and calls upon plaintiff to prove the same.

   45. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph forty-five and calls upon plaintiff to prove the same.

   46. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph forty-six and calls upon plaintiff to prove the same.

   47. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph forty-seven and calls upon plaintiff to prove the same.

   48. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph forty-eight and calls upon plaintiff to prove the same.

   49. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph forty-nine and calls upon plaintiff to prove the same.

   50. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph fifty and calls upon plaintiff to prove the same.




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   51. The Town admits that Paul Canney is a fire captain employed by the Brookline Fire

Department, and is without knowledge or information sufficient to form a belief as to the truth of

the remaining allegations set forth in paragraph fifty-one.

   52. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph fifty-two and calls upon plaintiff to prove the same.

   53. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph fifty-three and calls upon plaintiff to prove the same.

   54. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph fifty-four and calls upon plaintiff to prove the same.

   55. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph fifty-five and calls upon plaintiff to prove the same.

   56. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph fifty-six and calls upon plaintiff to prove the same.

   57. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph fifty-seven and calls upon plaintiff to prove the same.

   58. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph fifty-eight and calls upon plaintiff to prove the same.

   59. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph fifty-nine and calls upon plaintiff to prove the same.

   60. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph sixty and calls upon plaintiff to prove the same.

   61. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph sixty-one and calls upon plaintiff to prove the same.




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   62. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph sixty-two and calls upon plaintiff to prove the same.

   63. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph sixty-three and calls upon plaintiff to prove the same.

   64. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph sixty-four and calls upon plaintiff to prove the same.

   65. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph sixty-five and calls upon plaintiff to prove the same.

   66. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph sixty-six and calls upon plaintiff to prove the same.

   67. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph sixty-seven and calls upon plaintiff to prove the same.

   68. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph sixty-eight and calls upon plaintiff to prove the same.

   69. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph sixty-nine and calls upon plaintiff to prove the same.

   70. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph seventy and calls upon plaintiff to prove the same.

   71. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph seventy-one and calls upon plaintiff to prove the same.

   72. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph seventy-two and calls upon plaintiff to prove the same.




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   73. The Town admits that Justin Robinson is a fire lieutenant employed by the Brookline Fire

Department, and is without knowledge or information sufficient to form a belief as to the truth of

the remaining allegations set forth in paragraph seventy-three.

   74. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph seventy-four and calls upon plaintiff to prove the same.

   75. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph seventy-five and calls upon plaintiff to prove the same.

   76. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph seventy-six and calls upon plaintiff to prove the same.

   77. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph seventy-seven and calls upon plaintiff to prove the same.

   78. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph seventy-eight and calls upon plaintiff to prove the same.

   79. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph seventy-nine and calls upon plaintiff to prove the same.

   80. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph eighty and calls upon plaintiff to prove the same.

   81. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph eighty-one and calls upon plaintiff to prove the same.

   82. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph eighty-two and calls upon plaintiff to prove the same.

   83. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph eighty-three and calls upon plaintiff to prove the same.




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   84. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph eighty-four and calls upon plaintiff to prove the same.

   85. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph eighty-five and calls upon plaintiff to prove the same.

   86. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph eighty-six and calls upon plaintiff to prove the same.

   87. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph eighty-seven and calls upon plaintiff to prove the same.

   88. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph eighty-eight and calls upon plaintiff to prove the same.

   89. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph eighty-nine and calls upon plaintiff to prove the same.

   90. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph ninety and calls upon plaintiff to prove the same.

   91. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph ninety-one and calls upon plaintiff to prove the same.

   92. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph ninety-two and calls upon plaintiff to prove the same.

   93. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph ninety-three and calls upon plaintiff to prove the same.

   94. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph ninety-four and calls upon plaintiff to prove the same.




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   95. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph ninety-five and calls upon plaintiff to prove the same.

   96. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph ninety-six and calls upon plaintiff to prove the same.

   97. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph ninety-seven and calls upon plaintiff to prove the same.

   98. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph ninety-eight and calls upon plaintiff to prove the same.

   99. The Town is without knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph ninety-nine and calls upon plaintiff to prove the same.

   100.        The Town is without knowledge or information sufficient to form a belief as to

the truth of the allegations set forth in paragraph one hundred and calls upon plaintiff to prove

the same.

   101.        The Town is without knowledge or information sufficient to form a belief as to

the truth of the allegations set forth in paragraph one hundred and one and calls upon plaintiff to

prove the same.

   102.        The Town is without knowledge or information sufficient to form a belief as to

the truth of the allegations set forth in paragraph one hundred and two and calls upon plaintiff to

prove the same.

   103.        The Town is without knowledge or information sufficient to form a belief as to

the truth of the allegations set forth in paragraph one hundred and three and calls upon plaintiff

to prove the same.




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   104.        The Town is without knowledge or information sufficient to form a belief as to

the truth of the allegations set forth in paragraph one hundred and four and calls upon plaintiff to

prove the same.

   105.        The Town is without knowledge or information sufficient to form a belief as to

the truth of the allegations set forth in paragraph one hundred and five and calls upon plaintiff to

prove the same.

   106.        The Town is without knowledge or information sufficient to form a belief as to

the truth of the allegations set forth in paragraph one hundred and six and calls upon plaintiff to

prove the same.

   107.        The Town is without knowledge or information sufficient to form a belief as to

the truth of the allegations set forth in paragraph one hundred and seven and calls upon plaintiff

to prove the same.

   108.        The Town is without knowledge or information sufficient to form a belief as to

the truth of the allegations set forth in paragraph one hundred and eight and calls upon plaintiff

to prove the same.

   109.        The Town is without knowledge or information sufficient to form a belief as to

the truth of the allegations set forth in paragraph one hundred and nine and calls upon plaintiff to

prove the same.

   110.        The Town is without knowledge or information sufficient to form a belief as to

the truth of the allegations set forth in paragraph one hundred and ten and calls upon plaintiff to

prove the same.




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   111.        The Town is without knowledge or information sufficient to form a belief as to

the truth of the allegations set forth in paragraph one hundred and eleven and calls upon plaintiff

to prove the same.

   112.        The Town is without knowledge or information sufficient to form a belief as to

the truth of the allegations set forth in paragraph one hundred and twelve and calls upon plaintiff

to prove the same.

   113.        The Town is without knowledge or information sufficient to form a belief as to

the truth of the allegations set forth in paragraph one hundred and thirteen and calls upon

plaintiff to prove the same.

   114.        The Town is without knowledge or information sufficient to form a belief as to

the truth of the allegations set forth in paragraph one hundred and fourteen and calls upon

plaintiff to prove the same.

   115.        The Town is without knowledge or information sufficient to form a belief as to

the truth of the allegations set forth in paragraph one hundred and fifteen and calls upon plaintiff

to prove the same.

   116.        The Town is without knowledge or information sufficient to form a belief as to

the truth of the allegations set forth in paragraph one hundred and sixteen and calls upon plaintiff

to prove the same.

   117.        The Town is without knowledge or information sufficient to form a belief as to

the truth of the allegations set forth in paragraph one hundred and seventeen and calls upon

plaintiff to prove the same.




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   118.        The Town is without knowledge or information sufficient to form a belief as to

the truth of the allegations set forth in paragraph one hundred and eighteen and calls upon

plaintiff to prove the same.

   119.        The Town is without knowledge or information sufficient to form a belief as to

the truth of the allegations set forth in paragraph one hundred and nineteen and calls upon

plaintiff to prove the same.

   120.        The Town is without knowledge or information sufficient to form a belief as to

the truth of the allegations set forth in paragraph one hundred and twenty and calls upon plaintiff

to prove the same.

   121.        The Town is without knowledge or information sufficient to form a belief as to

the truth of the allegations set forth in paragraph one hundred and twenty-one and calls upon

plaintiff to prove the same.

   122.        The Town is without knowledge or information sufficient to form a belief as to

the truth of the allegations set forth in paragraph one hundred and twenty-two and calls upon

plaintiff to prove the same.

   123.        The Town is without knowledge or information sufficient to form a belief as to

the truth of the allegations set forth in paragraph one hundred and twenty-three and calls upon

plaintiff to prove the same.

   124.        The Town is without knowledge or information sufficient to form a belief as to

the truth of the allegations set forth in paragraph one hundred and twenty-four and calls upon

plaintiff to prove the same.




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       125.        The Town is without knowledge or information sufficient to form a belief as to

the truth of the allegations set forth in paragraph one hundred and twenty-five and calls upon

plaintiff to prove the same.

       126.        The Town admits the allegations set forth in paragraph one hundred and twenty-

six.

       127.        The Town is without knowledge or information sufficient to form a belief as to

the truth of the allegations set forth in paragraph one hundred and twenty-seven and calls upon

plaintiff to prove the same.

       128.        The Town admits that the Town of Brookline is a municipality of, and a political

subdivision of the Commonwealth of Massachusetts, and the remaining allegations set forth in

paragraph one hundred and twenty-eight can be neither admitted nor denied as they state

conclusions of law rather than factual assertions.

       129.        The Town admits the allegations set forth in paragraph one hundred and twenty-

nine.

       130.        The Town is without knowledge or information sufficient to form a belief as to

the truth of the allegations set forth in paragraph one hundred and thirty and calls upon plaintiff

to prove the same.

       131.        The Town is without knowledge or information sufficient to form a belief as to

the truth of the allegations set forth in paragraph one hundred and thirty-one and calls upon

plaintiff to prove the same.

       132.        The documents speak for themselves.




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    133.        The Town is without knowledge or information sufficient to form a belief as to

the truth of the allegations set forth in paragraph one hundred and thirty-three and calls upon

plaintiff to prove the same.

    134.        The documents speak for themselves.

                     FACTS RELATING TO CLASS CERTIFICATION

    135.        The Town denies the allegations set forth in paragraph one hundred and thirty-

five.

    136.        The Town denies the allegations set forth in paragraph one hundred and thirty-six.

    137.        The Town denies the allegations set forth in the first sentence of paragraph one

hundred and thirty-seven. The Town admits there are currently approximately 150 union

members employed by the Town. The Town denies the remaining allegations set forth in the

second sentence of paragraph one hundred and thirty-seven.

    138.        The Town denies the allegations set forth in paragraph one hundred and thirty-

eight.

    139.        The Town denies the allegations set forth in paragraph one hundred and thirty-

nine.

    140.        The Town denies the allegations set forth in paragraph one hundred and forty.

    141.        The Town denies the allegations set forth in paragraph one hundred and forty-one.

    142.        The Town denies the allegations set forth in paragraph one hundred and forty-

two.

    143.        The Town denies the allegations set forth in paragraph one hundred and forty-

three.




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                                              FACTS

    144.        The Town admits the allegations set forth in paragraph one hundred and forty-

four.

    145.        The Town admits the allegations set forth in paragraph one hundred and forty-

five.

    146.        The document speaks for itself.

    147.        The Town is without knowledge or information sufficient to form a belief as to

the truth of the allegations set forth in paragraph one hundred and forty-seven and calls upon

plaintiff to prove the same.

    148.        The Town admits since approximately March 2020, Local 950 has, on several

occasions, asked to see proof that the Town was paying bargaining unit members properly under

the FLSA. The Town is without knowledge or information sufficient to form a belief as to the

truth of the allegations set forth in the remaining allegations contained in paragraph one hundred

and forty-eight and calls upon plaintiff to prove the same.

    149.        The document speaks for itself.

    150.        The document speaks for itself.

    151.        The Town is without knowledge or information sufficient to form a belief as to

the truth of the allegations set forth in paragraph one hundred and fifty-one and calls upon

plaintiff to prove the same.

    152.        The Town admits since approximately March 2020, Local 950 notified the Town

of the union’s concerns that they were not in compliance with the FLSA. The Town is without

knowledge or information sufficient to form a belief as to the truth of the allegations set forth in




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the remaining allegations contained in paragraph one hundred and fifty-two and calls upon

plaintiff to prove the same.

    153.        The Town denies the allegations set forth in paragraph one hundred and fifty-

three.

    154.        The Town denies the allegations set forth in paragraph one hundred and fifty-four.

    155.        The Town denies the allegations set forth in paragraph one hundred and fifty-five.

    156.        The Town denies the allegations set forth in paragraph one hundred and fifty-six.

    157.        The Town denies the allegations set forth in paragraph one hundred and fifty-

seven.

    158.        The document speaks for itself.

    159.        The Town is without knowledge or information sufficient to form a belief as to

the truth of the allegations set forth in paragraph one hundred and fifty-nine and calls upon

plaintiff to prove the same.

    160.        The Town is without knowledge or information sufficient to form a belief as to

the truth of the allegations set forth in paragraph one hundred and sixty and calls upon plaintiff to

prove the same.

    161.        The Town admits the allegations set forth in paragraph one hundred and sixty-one

for most union members with the exception of union members employed in Fire Prevention and

Training Divisions.

    162.        The Town denies the allegations set forth in paragraph one hundred and sixty-

two.

    163.        The Town denies the allegations set forth in paragraph one hundred and sixty-

three.




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   164.        The Town admits the allegations set forth in paragraph one hundred and sixty-

four.

   165.        The allegations of paragraph one hundred and sixty-five, can be neither admitted

nor denied as they state conclusions of law rather than factual assertions.

   166.        The Town denies the allegations set forth in paragraph one hundred and sixty-six.

   167.        The Town denies the allegations set forth in paragraph one hundred and sixty-

seven.

   168.        The Town is without knowledge or information sufficient to form a belief as to

the truth of the allegations set forth in paragraph one hundred and sixty-eight and calls upon

plaintiff to prove the same.

   169.        The Town admits the allegations set forth in paragraph one hundred and sixty-

nine.

   170.        The Town denies the allegations set forth in paragraph one hundred and seventy.

   171.        The Town denies the allegations set forth in paragraph one hundred and seventy-

one.

   172.        The Town denies the allegations set forth in paragraph one hundred and seventy-

two.

   173.        The Town admits the allegations set forth in the first sentence of paragraph one

hundred and seventy-three. The Town denies the allegations set forth in the second sentence of

paragraph one hundred and seventy-three.

   174.        The Town denies the allegations set forth in paragraph one hundred and seventy-

four.




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                                        CAUSES OF ACTION

                            COUNT I: VIOLATION OF 29 U.S.C. § 207
                            FAILURE TO PAY PROPER OVERTIME

       175.        The Town repeats, re-alleges, and incorporates by reference herein its answers to

the allegations as set forth in paragraphs one through one hundred and seventy-four inclusive.

       176.        The Town denies the allegations set forth in paragraph one hundred and seventy-

six.

       177.        The Town denies the allegations set forth in paragraph one hundred and seventy-

seven.

       178.        The Town denies the allegations set forth in paragraph one hundred and seventy-

eight.

                           COUNT II: VIOLATION OF 29 U.S.C. § 207
                          FAILURE TO COUNT ALL HOURS WORKED

       179.        The Town repeats, re-alleges, and incorporates by reference herein its answers to

the allegations as set forth in paragraphs one through one hundred and seventy-eight inclusive.

       180.        The Town denies the allegations set forth in paragraph one hundred and eighty.

       181.        The Town denies the allegations set forth in paragraph one hundred and eighty-

one.

       182.        The Town denies the allegations set forth in paragraph one hundred and eighty-

two.




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                           COUNT III: VIOLATION OF 29 U.S.C. § 207
                          FAILURE TO COUNT ALL HOURS WORKED

       183.        The Town repeats, re-alleges, and incorporates by reference herein its answers to

the allegations as set forth in paragraphs one through one hundred and eighty-two inclusive.

       184.        The Town denies the allegations set forth in paragraph one hundred and eighty-

four.

       185.        The Town denies the allegations set forth in paragraph one hundred and eighty-

five.

       186.        The Town denies the allegations set forth in paragraph one hundred and eighty-

six.

                           COUNT IV: VIOLATION OF 29 U.S.C. § 207
                          FAILURE TO COUNT ALL HOURS WORKED

       187.        The Town repeats, re-alleges, and incorporates by reference herein its answers to

the allegations as set forth in paragraphs one through one hundred and eighty-six inclusive.

       188.        The Town denies the allegations set forth in paragraph one hundred and eighty-

eight.

       189.        The Town denies the allegations set forth in paragraph one hundred and eighty-

nine.

       190.        The Town denies the allegations set forth in paragraph one hundred and ninety.

                           COUNT V: VIOLATION OF 29 U.S.C. § 207
                          FAILURE TO COUNT ALL HOURS WORKED

       191.        The Town repeats, re-alleges, and incorporates by reference herein its answers to

the allegations as set forth in paragraphs one through one hundred and ninety inclusive.

       192.        The Town denies the allegations set forth in paragraph one hundred and ninety-

two.



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       193.        The Town denies the allegations set forth in paragraph one hundred and ninety-

three.

       194.        The Town denies the allegations set forth in paragraph one hundred and ninety-

four.

                           COUNT VI: VIOLATION OF 29 U.S.C. § 207
                          FAILURE TO COUNT ALL HOURS WORKED

       195.        The Town repeats, re-alleges, and incorporates by reference herein its answers to

the allegations as set forth in paragraphs one through one hundred and ninety-four inclusive.

       196.        The Town denies the allegations set forth in paragraph one hundred and ninety-

six.

       197.        The Town denies the allegations set forth in paragraph one hundred and ninety-

seven.

       198.        The Town denies the allegations set forth in paragraph one hundred and ninety-

eight.

                         COUNT VII: VIOLATION OF 29 U.S.C. § 213
                     MISCLASSIFICATION OF EMPLOYEES AS EXEMPT

       199.        The Town repeats, re-alleges, and incorporates by reference herein its answers to

the allegations as set forth in paragraphs one through one hundred and ninety-eight inclusive.

       200.        The Town denies the allegations set forth in paragraph two hundred.

       201.        The Town denies the allegations set forth in paragraph two hundred and one.

       202.        The Town denies the allegations set forth in paragraph two hundred and two.




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                       COUNT VIII: VIOLATION OF 29 U.S.C. § 211
                         FAILURE TO MAINTAIN RECORDS

   203.        The Town repeats, re-alleges, and incorporates by reference herein its answers to

the allegations as set forth in paragraphs one through two hundred and two inclusive.

   204.        The Town denies the allegations set forth in paragraph two hundred and four.

   205.        The Town denies the allegations set forth in paragraph two hundred and five.

          COUNT IX: CLASS ACTION CLAIM FOR FAILURE TO PAY TIMELY
            OVERTIME WAGES IN VIOLATION OF G.L. c. 149, §§ 148, 150

   206.        The Town repeats, re-alleges, and incorporates by reference herein its answers to

the allegations as set forth in paragraphs one through two hundred and five inclusive.

   207.        The Town denies the allegations set forth in paragraph two hundred and seven.

                            PLAINTIFFS’ PRAYERS FOR RELIEF

   The Plaintiffs’ prayers for relief do not require a response, but insofar as a response is

deemed necessary, the Town denies that plaintiffs are entitled to any of the requested relief and

to any relief whatsoever.

                                 AFFIRMATIVE DEFENSES

   A. The Plaintiffs’ claims under the Fair Labor Standards Act permit a collective action,

which was not pled, but not the class action claims that were actually pled.

   B. This Honorable Court does not have supplemental jurisdiction of the claims alleged in

Count IX. Fed. R. Civ. P. 12(b)(1).

   C. The claims arising out of the subject matter of the transactions and occurrences alleged

were not willful violations of the Fair Labor Standards Act.

   D. The Town had reasonable grounds for believing that such act or omission arising out of

the subject matter of the transactions and occurrences alleged was not a violation of the Fair

Labor Standards Act.


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    E. The claims arising out of the subject matter of the transactions and occurrences alleged

are barred by the doctrine of good faith immunity.

    F. The claims arising out of the subject matter of the transactions and occurrences alleged

are barred by the doctrine of qualified immunity.

    G. The claims arising out of the subject matter of the transactions and occurrences alleged

are barred by the applicable statute of limitations.

    H. The claims arising out of the subject matter of the transactions and occurrences alleged

are barred by laches.

    I. The claims arising out of the subject matter of the transactions and occurrences alleged

are barred by estoppel.

    J. The claims arising out of the subject matter of the transactions and occurrences alleged

are barred by their falsity.

    K. The claims arising out of the subject matter of the transactions and occurrences are barred

by a lack of damages.

    L. The claims arising out of the subject matter of the transactions and occurrences alleged

are barred by the Town’s right of setoff.

    M. Some union members and putative plaintiffs do not have the responsibility to engage in

fire suppression, and thus are exempt under the Fair Labor Standards Act, and this Honorable

Court should dismiss their claims.

    N. The Town is not liable for interest, costs, or attorney fees; therefore, this Honorable Court

should strike any reference to them.




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   O. The Town hereby gives notice that it intends to rely upon such other and further defenses

as may become available or apparent during discovery proceedings in this action and hereby

reserves the right to amend its Answer and to assert any such defense by appropriate motion.

                                       JURY DEMAND

   WHEREFORE, the Town demands a trial by jury as to all counts so triable.

                         DEFENDANTS’ PRAYERS FOR RELIEF

   WHEREFORE, the Town seeks dismissal of Plaintiffs’ complaint, that Plaintiffs recover

nothing, and any other such relief as this Honorable Court deems just and equitable.

                                     Respectfully Submitted,

                                     THE TOWN OF BROOKLINE

                                     By its attorney,



                                     __________________________________
                                     Joseph Callanan, Town Counsel, B.B.O. No. 648397
                                     Susan Harris, Associate Town Counsel, B.B.O. No. 684700
                                     Brookline Town Hall
                                     333 Washington Street, Sixth Floor
                                     Brookline, Massachusetts 02445
                                     e:     jcallanan@brooklinema.gov
                                     t:     (617) 730-2190
Date: May 13, 2024


                                CERTIFICATE OF SERVICE

    I, Joseph Callanan, Town Counsel, hereby certify that a true copy of the following document,
Answer on Behalf of All Defendants’ to Plaintiffs’ Third Amended Complaint, was served on this
thirteenth day of May 2024, and I caused a copy of the foregoing document to be served upon
Plaintiffs’ counsel of record as identified on the Notice of Electronic Filing (NEF).




                                     __________________________________
                                     Joseph Callanan, Town Counsel


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